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                           UNITED STATES DISTRICT COURT
                                     FOR THE                             2017 KAY -4 AM IJ: 21 :
                               DISTRICT OF VERMONT
                                                                                 CLERK
 JANET JENKINS, FOR HERSELF AND                                          BY        ~             :
                                                                              OEPU>YCilRK -      ·
 AS NEXT FRIEND OF ISABELLA
 MILLER-JENKINS, A/K/A ISABELLA
 MILLER,
                  Plaintiffs,

       v.

 KENNETH L. MILLER, LISA ANN
 MILLER F/K/A LISA MILLER-
 JENKINS, TIMOTHY D. MILLER,
 RESPONSE UNLIMITED, INC., FOR
 ITSELF AND AS AN AGENT OF
 LIBERTY COUNSEL, LLC AND
 LIBERTY UNIVERSITY, PHILIP
 ZODHIATES, INDIVIDUALLY AND AS
                                                      Docket No. 2:12-cv-184-wks
 AN AGENT FOR RESPONSE
 UNLIMITED, INC., VICTORIA HYDEN,
 F!K/A VICTORIA ZODHIATES
 INDIVIDUALLY AND AS AN AGENT
 FOR RESPONSE UNLIMITED, INC.,
 AND LIBERTY UNIVERSITY, LINDA
 M. WALL, RENA M. LINDEVALDSEN,
 INDIVIDUALLY AND AS AN AGENT
 OF LIBERTY COUNSEL AND LIBERTY
 UNIVERSITY, MATHEW D. STAVER,
 INDIVIDUALLY AND AS AN AGENT
 OF LIBERTY COUNSEL, LLC AND
 LIBERTY UNIVERSITY, LIBERTY
 COUNSEL, LLC, AND LIBERTY
 UNIVERSITY
                   Defendants.


   REVISED SECOND AMENDED COMPLAINT AND DEMAND FOR
                     TRIAL BY JURY

         NOW COME Plaintiffs herein, by and through their attorneys, Sarah R. Star, Esq.,
 Attorney and Counselor at Law, P.C., and Langrock Sperry & Wool, LLP, and complain
 against Defendants for intentionally kidnapping and conspiring to kidnap Isabella Miller-
 Jenkins on or about September 21, 2009, and intentionally causing her continued detention
 outside the State ofVermont to the present day. Plaintiffs further complain against
 Defendants for conspiring to violate their civil rights in violation of 42 U.S. C. § 1985(3).


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                          This case is brought because the Defendants, through their actions, sought to thwart
                  entirely the orders ofthe trial and appellate courts ofthe State ofVermont and the
                  Commonwealth of Virginia after all of their apparent legal options had been exhausted in
                  both states. When it was clear, after six years of state court litigation, that there was no legal
                  justification for the continuing and repeated contemptuous conduct of Lisa Miller and the
                  continued obstruction of the parent child relationship between Isabella Miller-Jenkins and
                  Janet Jenkins, the parties conspired to kidnap Isabella Miller-Jenkins and ensure her
                  detention outside of the United States, beyond the reach of either the Vermont or the
                  Virginia Courts.



                                                 JURISDICTION AND VENUE

                    1. This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 1331, 1332,
                       and/or 1367. Venue is proper in this forum pursuant to 28 U.S.C. § 1391(a) & (b).
                       Venue is proper under§ 1391(a) & (b) in that a substantial part of the events or
                       omissions giving rise to the claim occurred in this District. Venue is also proper under
                       principles of pendent venue because all claims arise out of the same nucleus of
                       operative facts.

                    2. Personal jurisdiction. Venue is appropriate in this Court pursuant to 28 U.S.C. §
                       1391(a), as a substantial part ofthe events giving rise to the claims occurred in this
                       district, and Defendants are subject to personal jurisdiction in this district, having had
                       more than minimum contacts with Vermont, as their conduct and connection with
                       Vermont are such that they should reasonably anticipate being haled into Court here.

                    3. Diversity Jurisdiction: With respect to the intentional tort of kidnapping/parental
                       abduction this is an action brought pursuant to 28 U.S.C. § 1332 between citizens of
                       different states. The amount in controversy exceeds $75,000. Venue is proper in this
                       district as jurisdiction is founded on diversity of citizenship, and a substantial part of
                       the events giving rise to the claim occurred within the State ofVermont.

                    4. Violation of Civil Rights: This Court has original jurisdiction over actions arising
                       under 42 U.S.C. §1985 pursuant to 28 U.S.C. §1343, and a substantial part ofthe
                       events underlying the claim, including the equal protection afforded to the Plaintiffs
                       under Vermont's Civil Union Statute, arose in Vermont.


                                                             PARTIES

                    5. Janet Jenkins: Plaintiff Janet Jenkins is an individual and resident of the Town of Fair
                       Haven, County of Rutland, State of Vermont.
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s~~~~·              6. Isabella Miller-Jenkins: Plaintiff Isabella Miller-Jenkins, a/k/a/ Isabella Miller, is a
&        ,iii'
                       minor child and daughter of Plaintiff Janet Jenkins and Defendant Lisa Miller. By
                       order ofthe Vermont Family Court, she is currently supposed to reside in Fair Haven,
                       County of Rutland, State ofVermont, but is currently outside the United States as the
                       victim of kidnapping.
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                          7. Lisa Ann Miller f/k/a Lisa Miller-Jenkins: Defendant Lisa Miller is living "in hiding"
                             amongst the Nicaragua Beachy Amish-Mennonite Christian Brethren, while she
                             continues to abduct Plaintiff Isabella Miller-Jenkins in knowing violation of the orders
                             ofthe Vermont Family Court, but she has sufficient ties to the State of Vermont,
                             including obtaining a civil union and the dissolution of same in Vermont and
                             longstanding participation in litigation in the State of Vermont regarding parental
                             rights of Plaintiff Isabella Miller-Jenkins, to subject her to the personal jurisdiction of
                             this Court.

                          8. Kenneth L. Miller: Defendant Kenneth Miller is a resident of the State of Virginia,
                             City of Stuart's Draft. Kenneth Miller has sufficient contacts with the State of
                             Vermont to subject him to the personal jurisdiction of this Court, including his
                             personal appearance for criminal charges in Vermont arising from his participation in
                             the kidnapping of Isabella Miller-Jenkins.

                          9. Timothy Miller: Defendant Timothy Miller is a resident of Managua, Nicaragua and
                             Crossville, Tennessee. He has sufficient ties to Vermont, including personal
                             appearance in Vermont for criminal charges related to the kidnapping of Isabella
                             Miller-Jenkins to subject him to the jurisdiction of this Court.

                          10. Philip Zodhiates: Defendant Philip Zodhiates is a resident ofthe Commonwealth of
                              Virginia, City of Waynesboro and the President and sole owner of Response
                              Unlimited, Inc., a Delaware corporation with sufficient contacts with the State of
                              Vermont to subject it to personal jurisdiction in this Court, including providing direct
                              mail and marketing services nationally and internationally, including in Vermont.

                          11. Victoria Hyden f/k/a Victoria Zodhiates: Defendant Victoria Hyden is a resident of the
                              Commonwealth ofVirginia, City of Lynchburg, and is or has been an employee of
                              Response Unlimited, Inc. and Liberty University in relation to the claims set forth
                              herein, giving her sufficient contacts with the State of Vermont to subject her to the
                              jurisdiction of this Court.

                          12. Response Unlimited, Inc.: Defendant Response Unlimited, Inc., is a Delaware
                              corporation with sufficient contacts with the State of Vermont to subject it to
                              jurisdiction in this Court, including providing Christian direct mail and marketing
                              services nationally and internationally, including in Vermont.

                          13. Linda Marie Wall: Defendant Linda Wall is a resident ofthe City of Concord,
                              Commonwealth of Virginia, with sufficient contacts with the State of Vermont to
                              subject her to the jurisdiction of this court.

                          14. Rena M. Lindevaldsen is a resident of the City of Lynchburg, Commonwealth of
Lm;.;mck                      Virginia and is an employee of Liberty Counsel and Liberty University in relation to
Sp.:rry                       the claims set forth herein, giving her sufficient contacts with the State of Vermont to
c_::;_ \\/~10[,
                              subject her to the jurisdiction of this Court.

                          15. Mathew D. Staver is a resident of the City of Orlando, State of Florida and is or has
                              been an employee and officer of Liberty Counsel and Liberty University in relation to
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      the claims set forth herein with sufficient contacts with the State of Vermont to subject
      him to the jurisdiction of this Court.

   16. Liberty Counsel, LLC is a non-profit law firm affiliated with Liberty University with
       principal places of business in the City of Lynchburg, Commonwealth ofVirginia and
       in the City of Orlando, State of Florida, having sufficient contacts with the State of
       Vermont to subject it to the jurisdiction of this Court.

   17. Liberty University is a purported educational institution located online and in the City
       of Lynchburg, Commonwealth ofVirginia, having sufficient contacts with the State of
       Vermont to subject it to the jurisdiction of this Court.


                           COMMON ALLEGATIONS OF FACT

   18. Isabella Miller-Jenkins is the daughter of Lisa Miller and Janet Jenkins. She was born
       in 2002 while the two mothers were united in a Vermont civil union. When Isabella
       was seventeen months old, Lisa Miller moved with Isabella to Virginia and petitioned
       the Rutland Vermont Family Court to dissolve the union. The Family, Appellate and
       Supreme Courts of both Vermont and Virginia have since ruled that the Rutland
       Family Court has continuing and exclusive jurisdiction over custody determinations
       regarding Isabella Miller-Jenkins, that she has a right to a relationship with both of her
       parents, and that it is in her best interests to have contact with both of her parents on a
       schedule ordered by the Court.

   19. At or about the time she petitioned for dissolution of the civil union in 2004,
       Defendant Lisa Miller was purportedly or actually "born again," that is, converted to
       fundamental Christianity and asserted the belief that homosexuality was sinful and that
       Isabella should be shielded from exposure to the "lifestyle." At or about this time, Lisa
       Miller joined the Keystone Baptist Church in Winchester, Virginia. There, she formed
       a friendship with Pastor Douglas Wright. While she was a member of Keystone
       Baptist, Lisa Miller began to deny the Court ordered parent child contact between
       Isabella and Janet Jenkins. Lisa Miller was found in contempt of the Vermont Court
       orders starting in 2004.

   20. Since 2004, there have been numerous instances when Janet Jenkins was entitled to
       lawful custody of Isabella in the State ofVermont, including during vacations,
       holidays and weekends and continuously since January 1, 2010 when full physical and
       legal responsibilities for Isabella were transferred to Jenkins from Defendant Lisa
       Miller. However, since 2008, Jenkins and Isabella have only seen each other on two
       occasions. Both the Rutland, Vermont Family Court, and the juvenile courts in
       Virginia which registered and enforced the Vermont orders, have found Lisa Miller in
       contempt and imposed sanctions for her conduct. Despite these sanctions, Lisa Miller
       continued to ignore the Court's orders with the assistance and encouragement of the
       Co-Defendants. Since January 2010 Isabella has been listed as missing by the
       National Center for Missing and Exploited Children, the victim of a family abduction.

 2004-2008


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                       21. Defendant Linda Wall, a Virginia anti-gay activist and Thomas Road Baptist Church
                           ("TRBC") member, stated that in 2004 she was contacted by attorney Rena
                           Lindevaldsen, of Liberty University and was asked to meet with Lisa Miller to screen
                           her for representation by lawyers working at Liberty University and its related law
                           firm, Liberty Counsel, LLC. After this screening, Lisa Miller was accepted for
                           representation by Liberty University attorneys, and also formed a friendship with
                           Defendant Wall. Lisa Miller's lead attorneys were Dean of the Law School Mathew
                           Staver, and Rena Lindevaldsen, a law professor there.

                       22. At the time of the final contested hearing to dissolve the civil union, which due to
                           numerous appeals did not occur until April 2007, Lisa Miller testified that in the future
                           she would comply with court orders regarding such contact despite her failure to do so
                           in the past and on June 15, 2007 the Rutland Family Court issued a Final Order
                           awarding legal and physical parental rights and responsibilities to Lisa Miller subject
                           to the time that Janet Jenkins was entitled to lawful custody during holidays, vacations
                           and some weekends.

                        23. Between June 2007 and Christmas 2007 Lisa Miller did in fact comply with the orders
                            of the Rutland Family Court on a number of occasions. Isabella spent a week in
                            Vermont with Plaintiff Jenkins, and had several overnight visits in Virginia at the
                            home of Jenkins' parents, Isabella's grandparents Ruth and Claude Jenkins. The
                            relationship between Isabella and Janet Jenkins was in the process of being repaired.
                            However, this compliance was short lived.

                        24. In the spring of2008, Lisa Miller, with the encouragement and support ofthe
                            Defendants named herein, moved with Isabella from her home in Winchester, Virginia
                            to the Lynchburg area, where she was provided with housing, a job and a vehicle by
                            TRBC. Lisa Miller began to associate more openly with the Co-Defendants. In
                            Lynchburg, Lisa Miller joined Thomas Road Baptist Church and was hired as a teacher
                            at TRBC's elementary school, Liberty Christian Academy, where Isabella also became
                            enrolled. Upon information and belief, at Liberty Christian Academy, Lisa Miller
                            would also give assemblies to students to discuss her legal battle.

                        25. Also in the spring of2008, Lisa Miller and Defendant Wall met to discuss what Lisa
                            Miller should do "knowing that Virginia" law was not going to prevent Isabella from
                            having contact with Plaintiff Jenkins. At this time, Appellate Courts in Vermont and
                            Virginia had affirmed Janet Jenkins' parental rights. Upon information and belief,
                            Defendant Wall and Lisa Miller decided and agreed as early as June of2008 that Lisa
                            Miller should flee with Isabella.

                        26. The Protect Isabella Coalition was organized in the spring of 2008 in Lynchburg by
                            Wall and Lisa Miller and other church agents, including Deborah Thurman, who ran a
                            woman's group at TRBC. The purpose of the Protect Isabella Coalition ("PIC") was to
                            prevent court ordered contact between Isabella Miller-Jenkins and Janet Jenkins. Lisa
:Spt:Tc\"                   Miller's attorneys had established a Facebook site and other social media to solicit
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                            donations to their organization on behalf of Lisa Miller, and the Facebook site was also
                            used to promote the activities of Lisa Miller and the PIC.



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               27. During her employment at TRBC and participation in the PIC, Lisa Miller continued to
                   be in contempt during court ordered visitation time, and threatened future acts of
                   custodial interference. Lisa Miller appeared on a radio program called "Janet
                   Parshall's America" and threatened that she would not comply with a court's order to
                   transfer legal and physical rights and responsibilities to Janet Jenkins.

               28. On May 27, 2009, Janet Jenkins filed a Motion to Modify Par~ntal Rights and
                   Responsibilities in the Vermont Family Court. This Motion requested a transfer of
                   custody to Plaintiff Jenkins due to Lisa Miller's continued interference with court
                   ordered visitation. On May 29, 2009 Lisa Miller made contact with Philip Zodhiates, a
                   resident of Waynesboro, Virginia and the President of Response Unlimited, Inc. a
                   Christian direct mail marketing company.

               29. Unbeknownst to Jenkins, Response Unlimited, Inc. was working in conjunction with
                   the lawyers at Liberty Counsel to raise funds in support of the effort to terminate her
                   contact with her daughter, Isabella. This work began in 2008 and in early 2009, Philip
                   Zodhiates offered Liberty Counsel a "personal option" for Lisa Miller in the event that
                   her legal fight failed.

               30. On August 21, 2009, the Rutland Family Court held a full day hearing on Janet
                   Jenkins' request to transfer custody oflsabella to her in light of Lisa Miller's ongoing
                   violation of court orders and her disregard oflsabella's best interests. Lisa Miller did
                   not appear for the hearing.

               31. On August 25, 2009, the Family and Juvenile Court of Fredrick County, Virginia held
                   a hearing on Janet Jenkins' request to hold Lisa Miller in contempt of the Vermont
                   Family Court Orders, and her request to enforce the orders in the Commonwealth of
                   Virginia. The Virginia Court held Lisa Miller in contempt and fined her $100 per day
                   for any future days of missed contact between Janet Jenkins and Isabella Miller-
                   Jenkins. Lisa Miller did appear at this hearing and held a press conference, flanked by
                   her attorneys Mathew Staver and Rena Lindevaldsen from Liberty University.
                   Members of the PIC were also present.

               32. On September 4, 2009 the Rutland Family Court held a hearing at which it issued an
                   Interim Order while Janet Jenkins' Motion to transfer custody (which had been heard
                   on August 21, 2009) was under consideration. The Rutland Family Court ordered
                   contact between Janet Jenkins and Isabella from September 25, 2009 until September
                   27, 2009. Lisa Miller did not appear at that hearing, and her attorneys participated via
                   telephone.

               33. On or about September 5, 2009, Lisa Miller emailed Debbie Thurman andstated that
                   she knew of the September order. Debbie Thurman posted this email on Facebook.
                   Lisa Miller also granted an interview to an online publication called Lifesitenews.com,
                   discussing the order, and what she thought would happen if she did not follow it- that
Spcrrv             she would lose custody.
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               34. By the late summer of2009, Lisa Miller and her co-conspirators had devised a plan to
                   kidnap Isabella and avoid detection by infiltrating the Beachy Amish-Mennonite
                   Christian Brotherhood ("Brotherhood") to enable her abduction of Isabella. Lisa
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                     Miller's involvement with the Brotherhood was not known to Janet Jenkins until April
                     of2011, when Timothy Miller, a Beachy Amish-Mennonite pastor in the Nicaragua
                     Brotherhood was arrested for Aiding and Abetting Isabella's abduction.

                  35. Before her departure for Nicaragua, Lisa Miller and Isabella travelled back to
                      Winchester, VA. During this trip, Lisa arranged to meet Pastor Wright in a parking lot
                      so that she and Isabella could say "good-bye" to him.

                  36. Unbeknownst to Plaintiff Janet Jenkins, on September 21,2009, Lisa Miller and
                      Isabella were transported, in disguise as Amish-Mennonites, to the Canadian border by
                      Philip Zodhiates and at least one other Response Unlimited, Inc. employee. Lisa
                      Miller and Isabella crossed the border at the Rainbow Bridge in a taxi in the early
                      morning hours of September 22, 2009, just days prior to the contact ordered by the
                      Rutland Family Court in its September 2009 Interim Order.

                  37. On September 24, 2009, a Response Unlimited employee named Bill Dolack sent
                      Zodhiates an online news story about Lisa Miller being menaced with loss of custody
                      if she did not comply with the September 25, 2009, visitation. Zodhiates replied to
                      that email stating: "Thanks, this is really old news though. The lawyers were pretty
                      adamant about yesterday morning being the hearing."

                  38. In the days prior to September 22, 2009, Lisa Miller and Philip Zodhiates conspired
                      with Kenneth Miller, a member of the Virginia Brotherhood with whom both Victoria
                      and Philip Zodhiates were acquainted, to arrange the purchase of plane tickets from
                      Canada to Nicaragua for Lisa Miller and Isabella Miller-Jenkins. Kenneth Miller also
                      arranged for a Canadian member of the Brotherhood to transport Lisa Miller from an
                      Ontario Hotel to the Toronto airport. Lisa Miller and Isabella Miller-Jenkins flew to
                      Mexico, then El Salvador, and then met Timothy Miller in Nicaragua. Timothy Miller
                      was instructed by Kenneth Miller to purchase plane tickets for Lisa Miller and Isabella,
                      and used his mother-in-law's credit card to do so. Several days later, Kenneth Miller
                      used cash to send a money order to reimburse Timothy Miller's mother-in-law. This
                      was done anonymously, and in such a way as to avoid detection in a clear effort to
                      avoid the September visit, and the anticipated transfer of custody.

                  39. Kenneth Miller was a pastor at the Pilgrim Christian Fellowship in Stuart's Draft, VA
                      and a leader within the Beachy Amish-Mennonite community. He was also employed
                      at his family's garden center, Millmont Greenhouses, Inc., in Stuart's Draft, VA.

                  40. Starting in September 2009, Lisa Miller and Isabella lived near or among the Beachy
                      Amish-Mennonite Community in Nicaragua ("Nicaragua Brethren"). This was all done
                      in secret and in such a way as to avoid detection by United States authorities and Janet
                      Jenkins. Lisa Miller would eventually go into "hiding" with Isabella among the
                      Nicaragua Brethren, but would continue to communicate with members of TRBC with
Langn_)ck             the assistance of Philip Zodhiates, Kenneth Miller and members of the Nicaragua
Sperry                Brethren. Lisa Miller went by the name "Sarah" and Isabella was called "Lydia" while
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                      in Nicaragua.




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                 41. In Nicaragua in the fall of 2009 Lisa Miller spoke with Andrew Yoder, who worked
                     for a Mennonite Charity called Christian Aid Ministries. She told Andrew Yoder that
                     Liberty Counsel had advised her that it would be in her best interests to disappear.

                 42. Lisa Miller did not return Isabella for the September 2009 visit, and Janet Jenkins has
                     not seen or heard from Lisa Miller or Isabella since that time. Janet Jenkins arranged
                     for a welfare check at Lisa Miller's last known address in Forest, Virginia in
                     December of2009, but no one was home. The police reported that the curtains were
                     drawn and the lights were off.

                 43. Janet Jenkins did not learn of Lisa Miller and Isabella Miller-Jenkins' whereabouts
                     until June of2010.

                 44. Unbeknownst to Plaintiff Janet Jenkins, in 2009, Victoria Zodhiates (now Hyden) was
                     an employee of Response Unlimited, Inc., and also a "student worker" at Liberty
                     University. Victoria Zodhiates delivered emails from her father during this time
                     period to Rena Lindevaldsen at the Liberty University law school requesting donations
                     for supplies and coordinating the removal of items from Lisa Miller's apartment to
                     send to Lisa Miller to enable her to remain outside the country. On September 20,
                     2009, both Philip Zodhiates and Victoria Hyden communicated with Lisa Miller's
                     father, Terry Miller, in Tennessee to assist in arranging her and Isabella's
                     transportation from a Walmart parking lot in Lynchburg, Virginia, to Waynesboro,
                     Virginia, from whence they would depart for Canada and Nicaragua the next day.

                 45. In early November, 2009, elders of the Thomas Road Baptist Church, specifically
                     Rena Lindevaldsen and Linda Wall packed up the personal belongings of Lisa Miller
                     in two bags. These bags were picked up from Lynchburg, Virginia by Philip Zodhiates
                     who arranged to have the bags transported to Nicaragua by sending them with his
                     son's school teacher who was taking some children on a mission trip to Managua.
                     Philip Zodhiates arranged for the teacher, John Collmus, to deliver the bags at the
                     airport to Timothy Miller. The bags also contained some supplies for Lisa Miller, such
                     as peanut butter.

                 46. In addition to retrieving Lisa Miller's items from her apartment, Victoria Hyden used
                     her employment at Liberty University to facilitate Lisa Miller's communication with
                     her lawyer, Rena Lindevaldsen during the time that Lindevaldsen claimed she was
                     unable to communicate with Lisa Miller in an attempt to help her duck service of
                     contempt and enforcement pleadings filed by Janet Jenkins to help locate Isabella.

                 47. On November 20, 2009, after numerous contempt findings against Lisa Miller, the
                     Rutland Family Court issued its Order that legal and physical parental rights and
                     responsibilities for Isabella to be transferred to Plaintiff Janet Jenkins, effective
                     January 1, 2010 at 1:00 p.m. Deborah Thurman, a member of Thomas Road Baptist
L~mgruck             Church and the PIC posted a note from Lisa Miller on Facebook on December 5, 2009,
Sp·~rry              acknowledging the ruling.
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                 48. On November 20, 2009, the day that the order was issued transferring custody,
                     Kenneth Miller made a phone call to Timothy Miller in Nicaragua. Kenneth Miller


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                 also contacted Douglas Wright of Keystone Baptist Church. He asked Pastor Wright
                 to assist in disposing of Lisa Miller's belongings from her apartment in Virginia.

              49. At a December 18,2009, status conference, Plaintiff informed the Rutland Family
                  Court that Isabella and Lisa seemed to be missing. Liberty Counsel persisted in filing
                  an appeal in the Vermont Supreme Court on Lisa Miller's behalf, and requested a stay
                  of the order transferring custody oflsabella to Janet Jenkins.

              50. A hearing on the motion for a stay was held on December 22, 2009 and Rena
                 Lindevaldsen stated to the Rutland Family Court: "I had no reason to believe until this
                 last conference when Ms. Star indicated that, apparently, there's been no coming and
                 going at her house, that she wasn't at her home. I've left -- you know, again, I've left
                 her messages."

              51. On December 30,2009 after the news of Lisa Miller and Isabella's disappearance
                  broke, Deborah Thurman made a statement on her internet blog, which she linked to
                  the Only One Mommy site. She stated, inter alia:

                   So, the blogosphere and the mainstream media are now abuzz with the
                   news that -gasp! - Lisa and Isabella Miller are nowhere to be found, just days
                   before the court-mandated transfer of custody of7-year-old Isabella to Janet
                   Jenkins. Ya reckon?

            And in conclusion, she wrote:

                   The majority ofAmericans overwhelmingly support traditional marriage. If the
                   tyrannical minority wants to push against that, it can and will be met with civil
                   disobedience. There is no other way.

              52. This threat was removed from the internet after Plaintiff Jenkins printed it out and
                  brought it to the police.



              53. Lisa Miller did not return Isabella for the January 1, 2010 transfer of custody but held
                  her outside the United States, despite her knowledge of the ruling.

              54. In January 2010, Linda Wall appeared on television with several members ofthe PIC
                  to endorse the kidnapping. In discussing her role, Wall compared herself to Harriet
                  Tubman, and suggested she would take similar actions with regard to more children
                  from same-sex families.

              55. Defendant Wall also wrote on Facebook that if anyone knew of Lisa Miller and
L:ms;nxk          Isabella's whereabouts, they should not tell anyone. She also made several phone calls
Sperrv            to law enforcement to instruct them that they should not look for Lisa Miller and
& \Vuol,          Isabella.

              56. In May of2010, Philip Zodhiates contacted Kenneth Miller purportedly to arrange the
                  purchase of hydrangea plants from Millmont Greenhouses, Inc., for his daughter
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                     Victoria Zodhiates' wedding. Upon information and belief, this transaction with Philip
                     Zodhiates was never recorded in the normal course of business, but instead, was
                     fraudulently transferred through a payroll account into a check to Andrew Yoder, for
                     $500. Andrew Yoder was never an employee of Millmont Greenhouses, Inc. On
                     August 10,2012, Andrew Yoder testified under oath that he received a check to cash
                     from Kenneth Miller to enable him to bring cash to Nicaragua to transfer to Timothy
                     Miller. Yoder testified that he believed this cash was related to Lisa Miller. Yoder
                     also testified that he had met Lisa Miller and Isabella through Timothy Miller in 2009,
                     and that he knew of her custody case.

                  57. With the assistance of Thomas Road Baptist Church members, including Linda Wall
                      and Rena Lindevaldsen, as well as Kenneth Miller, Timothy Miller, Philip Zodhiates,
                      and Victoria Zodhiates, in their individual capacities and as agents of Response
                      Unlimited and Liberty University Lisa Miller was able to leave the United States in
                      advance of September 25,2009 and remain there past January 1, 2010. Linda Wall
                      sought donations for Lisa Miller after January 2010, and the Liberty Counsel lawyers
                      misled courts in two states to delay contempt proceedings aimed at locating Isabella.
                      Since the fall of2009, Lisa Miller has received aid from the Brotherhood, to continue
                      her abduction of Isabella. Lisa Miller worked in the Managua home of Pastor Timothy
                      Miller. Timothy Miller was arrested for aiding and abetting the kidnapping of Isabella
                      Miller-Jenkins in April of2011. In November, 2011, charges were dismissed when he
                      agreed to provide truthful testimony for the United States Government. However,
                      Timothy failed to give truthful testimony and failed to return to the United States for
                      trial. He was subsequently deported to the United States to stand trial.

                  58. At the time of Timothy Miller's arrest Isabella was living with Lisa in Jinotega,
                      Nicaragua, where Lisa Miller was teaching in a school. After the arrest, when her
                      location was discovered, Isabella was uprooted again to an unknown location. It is not
                      known if Isabella is still with Lisa Miller since this time, or with others who are
                      keeping her in hiding.



                  59. In November 2011, following the dismissal ofthe charges against Timothy Miller,
                      Kenneth Miller was indicted for aiding and abetting the international parental
                      kidnapping oflsabella Miller-Jenkins. Kenneth Miller, who was living in Ireland at the
                      time of his arrest, had been a pastor and member of the Pilgrim Christian Fellowship in
                      Stuart's Draft, VA, where Victoria Hyden had previously attended grade school.
                      Through his employment at the church, he was acquainted with Defendants Victoria
                      and Philip Zodhiates.

                  60. At the trial of Kenneth Miller in August 2012, the government introduced phone
                      records that showed phone calls made from Philip Zodhiates's cell phone between 1:28
Lm~rock               pm and 1:30pm on September 22, 2009, to a cell phone with an Orlando area code
Spcrn                 that is registered to Liberty Counsel, a landline registered to Liberty Counsel, and a
,St_ \\/nd,:
                      landline registered to Liberty University. Mathew Staver, Dean of Liberty University,
                      splits his time between Lynchburg, Virginia and Orlando, Florida. At the time that the
                      calls were made, Philip Zodhiates was still en route back to Virginia after depositing
                      Lisa Miller and Isabella near the Canadian border.
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                      61. Lisa Miller's attorneys, Matthew Staver and Rena Lindevaldsen have at all times
                          maintained that they did not know their client's location to various courts in Vermont
                          (including in sworn testimony of Rena Lindevaldsen) and Virginia, and to the press
                          that Lisa Miller simply stopped communicating with them and disappeared. This was
                          demonstrably false. Rather, they knew of Lisa Miller's whereabouts, knew the
                          identies of certain co-conspirators and solicited donations and retrieved items to
                          support the crime. Also, while Lisa Miller and Isabella were missing, Lisa Miller's
                          attorneys continued to mislead the Vermont and Virginia Courts, and press appeals on
                          Lisa Miller's behalf until the last appeals were exhausted in November 2010 (more
                          than a year after she was missing), stating that they had advance instructions from Lisa
                          Miller as to her wishes for the ongoing litigation.

                      62. Rena Lindevaldsen published a book with New Revolution Press about Lisa Miller in
                          2011, citing portions of Lisa Miller's personal diaries which Lindevaldsen has stated
                          were entrusted to her before Lisa Miller disappeared. Lindevaldsen and Staver have
                          appeared on radio and television to promote the book, entitled Only One Mommy: A
                          Woman's Battle for Her Life, Her Daughter, and Her Freedom: The Lisa Miller Story.
                          Rena Lindevaldsen's book was required reading for all incoming Liberty University
                          School of Law students.

                  2012

                      63. On February 2, 2012, the Nicaragua Brethren released an official statement detailing
                          how Lisa Miller had, from their perspective, infiltrated the Brethren, and was now in
                          hiding among them, stating in part:

                           Lisa Miller left the US free with full custody of her child and lived in Nicaragua as a
                           free person. She had her own money and took care of herself After a time of
                            instruction, and ofsearching the Scriptures, she asked to become part of the church
                           and was received into the brotherhood.

                           To our knowledge neither Lisa nor any of the Nicaraguan brethren had heard that
                           an arrest warrant had been issued for her until Timo Miller was arrested a year
                           later. Then we discovered that the law was accusing the brethren of aiding in a
                           kidnapping even though Lisa still had total and legal custody when she left the US.
                           After Timo Miller's arrest the law started to pursue Lisa, so she decided to go into
                           hiding.

                           Several years have passed. At the time we did not know what all was going on. We
                           only knew that the poor mother and the precious child needed help, so some of our
                           people kindly extended them a helping hand. But now this case has grown and quite
                                                                   1
                           a few congregations have been affected.
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                    Available at http://www.lifesitenews.com/news/i-promised-god-that-if-he-would-save-my-baby-i-would-
                  leave-the-homosexual-l/



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                COUNT ONE- INTENTIONAL TORT OF KIDNAPPING

  Plaintiffs incorporate by reference paragraphs 1 through 63 as though fully set forth
  herein.


   64. Plaintiffs Janet Jenkins and Isabella Miller-Jenkins allege that on or about September
       21, 2009 Lisa Miller did commit the intentional tort of kidnapping Isabella Miller-
       Jenkins and transporting her, under cover of night, while both disguised as Amish-
       Mennonites, outside of the United States in order to interfere with Janet Jenkins'
       lawful custody oflsabella between the dates of September 25,2009 and September 27,
       2009. Plaintiffs also allege that Lisa Miller intentionally held Isabella Miller-Jenkins
       outside of the United States, specifically, in Nicaragua, to interfere with Janet Jenkins'
       lawful custody oflsabella between the dates of January 1, 2010 and the present, and to
       thwart the equal protection afforded to Janet Jenkins and Isabella Miller-Jenkins under
       Vermont law. Such acts constitute the act or threat of kidnapping chargeable as a
       criminal offense under Vermont law and punishable by imprisonment for more than
       one year.

   65. Plaintiffs Janet Jenkins and Isabella Miller-Jenkins further allege that Lisa Miller did
       conspire with, and was aided and abetted by Response Unlimited, Inc., Philip
       Zodhiates, individually and as an agent/officer of Response Unlimited, Inc., Victoria
       Hyden, f/k/a Victoria Zodhiates, individually and as an agent of Response Unlimited,
       Inc. and Liberty University, Kenneth Miller, Timothy Miller Linda Wall, Rena
       Lindevaldsen, individually and as an agent of Liberty Counsel and Liberty University,
       Mathew Staver, individually and as an agent of Liberty Counsel and Liberty
       University, and Liberty Counsel, LLC and Liberty University.


             COUNT TWO: CONSPIRACY TO VIOLATE CIVIL RIGHTS

  Plaintiffs incorporate by reference paragraphs 1 through 645 as though fully set forth
  herein.

   66. 42 U.S.C. § 1985 (3) provides a civil cause of action for any person who is injured in
       his person or property by reason of "two or more persons in any State or Territory
       conspir[ing] or go[ing] in disguise on the highway or on the premises of another, for
       the purpose of depriving, either directly or indirectly, any person or class of persons of
       the equal protection of the laws, or of equal privileges and immunities under the laws;
       or for the purpose of preventing or hindering the constituted authorities of any State or
       Territory from giving or securing to all persons within such State or Territory the equal
       protection of the laws."

   67. Plaintiffs Janet Jenkins and Isabella Miller-Jenkins allege that Lisa Miller conspired
       with Liberty Counsel, LLC, Liberty University, Response Unlimited, Inc., Philip
       Zodhiates, individually and as an agent/officer of Response Unlimited, Inc., Victoria
       Hyden, f/k/a Victoria Zodhiates, individually and as an agent of Response Unlimited,
       Inc. and Liberty University, Kenneth Miller, Timothy Miller, Linda Wall, Rena
       Lindevaldsen, Mathew Staver, individually and as agents of Liberty Counsel and

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                         Liberty University to violate the civil rights of Janet Jenkins and Isabella Miller-
                         Jenkins, based on discriminatory animus against same-sex couples and against Janet
                         Jenkins due to sexual orientation, and to prevent the courts of Vermont and Virginia
                         from securing to them equal protection of the law, and to prevent or hinder State
                         authorities from securing equal protection of the law to same-sex couples.


                                                              DAMAGES

                     68. As a result oflsabella's kidnapping, Janet Jenkins has suffered extreme emotional
                         distress and the loss of her daughter's companionship.

                      69. Janet Jenkins has incurred legal fees and lost business as a result of having to close her
                          daycare center in order to attend contempt and other court hearings, and meetings with
                          law enforcement necessary to locate her daughter. These losses constitute a damage
                          and injury to her business and property. Janet Jenkins has also been unable to collect
                          court ordered fines, which constitute a property interest. These fines have been
                          accruing in the amount of$100 per day from September 25 to 27,2009 and since
                          January 1, 2010 and are expected to continue indefinitely while Isabella is abducted.

                      70. Plaintifflsabella Miller-Jenkins has suffered emotional distress as a result of the
                          abduction. According to Timothy Miller, at one point, Isabella was living in isolation
                          and having a difficult time. In the most recent report about Isabella's whereabouts, it
                          seems that her freedom of movement is severely restricted by the Nicaragua Brethren
                          and Lisa Miller and that her standard of living is far below what even the poorest
                          children in the United States experience.

                      71. Plaintiff Isabella Miller-Jenkins has also suffered the loss of emotional and financial
                          support from her mother, Janet Jenkins. Isabella has a property interest in child support
                          from one or both parents based on her needs and best interests. The child support
                          previously due to the custodial parent for Isabella's care was approximately $250 per
                          month. This deprivation continues today and is expected to continue indefinitely into
                          the future. In addition to the property right of child support, on information and belief,
                          Isabella is currently being deprived of an education, medical and dental care and the
                          support of her extended family, including grandparents Ruth and Claude Jenkins. All
                          of these factors currently and will in the future result in an injury to Isabella's property
                          and future business and employment.

                      72. Plaintiffs request compensatory and punitive damages against Defendants for the
                          intentional tort of kidnapping Isabella and for violations of the Plaintiffs civil rights.

                                                           JURY DEMAND

Langmck             Plaintiffs request a jury trial on factual issues and the required fee has been or will be paid.
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c'x \'Vc HJ!, ·                                                PRAYER




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                   For the above reasons, Plaintiffs request that the named Defendants be made to appear
                   herein and be held liable as alleged herein and that judgment be entered in the Plaintiffs
                   favor against the Defendants in the following particulars:

                              1. An order that the Defendants cease their unlawful activities immediately and
                                 return Isabella Miller-Jenkins to the United States.
                              2. Actual and punitive damages as requested herein.
                              3. Attorney's fees and expert witness fees.
                              4. Costs of court and any other relief to which the Plaintiffs are justly entitled.

                   DATED AT MIDDLEBURY, VERMONT this 6th day of April, 2017




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